
360 S.E.2d 96 (1987)
320 N.C. 634
STATE of North Carolina
v.
Alice CLAY.
No. 308P87.
Supreme Court of North Carolina.
September 3, 1987.
*97 Edward J. David, Fayetteville, for defendant.
Charles J. Murray, Sp. Deputy Atty. Gen., Raleigh, for the State.

ORDER
Upon consideration of the petition filed by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of September 1987."
